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				IN THE MATTER OF E.E.2015 OK 37Case Number: 111605Decided: 06/09/2015THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2015 OK 37, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

&nbsp;



IN THE MATTER OF E.E. and A.E., alleged deprived children under the age of 18 years

STATE OF OKLAHOMA ex rel., DEPARTMENT OF HUMAN SERVICES, Appellee,
v.
ROBERT EGGERS, Appellant.




ORDER OF SUMMARY DISPOSITION


¶1 Rule 1.201 of the Oklahoma Supreme Court Rules provides that "[i]n any case in which it appears that a prior controlling appellate decision is dispositive of the appeal, the court may summarily affirm or reverse, citing in its order of summary disposition this rule and the controlling decision." Okla. S. Ct. Rule 1.201.

¶2 After reviewing the record in this case, THE COURT FINDS that our decision in In the Matter of T.T.S., 2015 OK 36, ___P.3d___ involves the same primary legal questions as those in the above-styled appeal; and therefore, our holding in T.T.S. disposes of the issues herein.1

¶3 IT IS THEREFORE ORDERED that the trial court's Journal Entry Terminating the Parental Rights of Respondent Father, Robert Eggers is reversed and the cause is remanded for further proceedings.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 8th day of June, 2015.


/S/VICE CHIEF JUSTICE



¶4 Reif, C.J., Combs, V.C.J., Watt, Edmondson, Colbert, Gurich, JJ., concur.

¶5 Kauger, J., concurs in result.

¶6 Winchester, Taylor, JJ., dissent.



FOOTNOTES


1 The issue presented in Matter of T.T.S. was whether in proceedings to terminate parental rights, brought pursuant to 10A O.S. 2011 § 1-4-904(B)(5), the jury instructions, verdict forms, and final order must include the specific conditions a parent failed to correct.








	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
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	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	Oklahoma Supreme Court Cases
&nbsp;CiteNameLevel

&nbsp;2015 OK 36, IN THE MATTER OF T.T.S.Cited


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
